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                                     UNITED STATES DISTRICT COURT
                                      Eastern District of Pennsylvania
                                              U.S. Courthouse
                                         Independence Mall West
                                             601 Market Street
                                       Philadelphia, PA 19106-1797
                                                                                       Clerk’s Office - Room 2609
                                                                                      Telephone: (215) 597-7704




                                          October 9ǡʹͲʹͲ




                  HOUGH et al v. CITY OF PHILADELPHIA et al
         Re:
                 Civil Action No.:      ʹͲǦ͵508

&RXQVHO :

      A review of the Court’s records shows that service of the complaint has not been
made in the above-captioned matter.

         In order to eliminate a delay in bringing this case to trial, service must be made by
October 15ǡʹͲʹͲ, in accordance with Rule 4(m) of the Federal Rules of Civil Procedure.
Proof of service must be filed with the Clerk’s Office within five (5) days of service. If
service is not made within the time set forth above, the Court will dismiss the complaint
without prejudice for lack of prosecution.

                                                                    Very truly yours,



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                                                                    Deputy Clerk to Judge Ǥ




Civ 22                                                                     (Lack of Prosecution Letter 4(m))
